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          Exhibit G
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January 10th, 2017

EDS Management Corp,
                        Plaintiff,

        -against-

Angela Pauli, Robert A Pauli, Jr.
                        Defendant(s)

Index #21064/16
RE: File No.: 14379

        I received a summons for case no. 021064, file no. 14379. This case was first brought against me
in 2011 and previously discontinued in October of 2016. I no longer live in New York City. I called the
New York Civil Court at 111 Centre Street, New York, NY 10013 and talked to George, a court clerk, and
he suggested that I reply to this summons with written answers as well as request a preliminary
conference over the phone. Attached are my responses to the demands of the plaintiff.

                                        RESPONSE(S):


1. Defendant Angie Pauli replies to the allegations: Denied

    Angie Pauli refutes and vehemently denies that she owes any money to EDS Management Corp.

        When defendant Angie Pauli lived in New York at the time in 2011, she went to court to
    represent herself against EDS Management Corp. and their practices. Angie Pauli went to EDS
    Management Corp. with concerns of (2) outlet electrical fires, non-working AC unit, mice/rats in her
    apartment coming through holes that were never fixed, all stove burners in the kitchen were not
    working, scalding hot water in the shower and then freezing cold water in the shower, there was no
    way to take a shower peacefully without freezing or getting burnt. Angie took these concerns to
    EDS Management Corp.

    EDS Management Corp. refused to fix the above mentions. EDS Management Corp. took Angie Pauli
    to court in 2011. EDS Management Corp. was ordered by the judge to fix all of the above, and only
    when they did, Angie Pauli would be ordered to pay the remaining March 2011 rent ($248.39)

    EDS Management was required to put Angie Pauli up in a hotel. Disrupting the day to day life of
    Angie Pauli and her work schedule, Angie Pauli was forced to stay at Hotel Pennsylvania for 13 days
    while EDS Management Corp. hired out a company to try and rid the mice and rats in her
    apartment. Upon return to the apartment with superintendent at the time, Otto(from Queens); 16
    mice and rats were retrieved and discarded by Otto throughout her apartment, including but not
    limited to; on her bed, under the bed, in the kitchen sink, on the kitchen window that opens to
    room, in the oven, behind the refrigerator, in the bathroom shower, behind the toilet, etc.
    Complaints of more mice were reported to EDS Management Corp. via email and phone calls that
    went unreturned. Once Angie Pauli made contact with EDS Management Corp. and told them of
    nothing being fixed, they told Angie Pauli there was nothing they could do about the mice and rats
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 because they did not understand where the mice and rats were coming in at, and they refused to fix
 any and all of the other above mentions, although they were court ordered to do so.

 The electrical outlets were completely charred black, the AC unit still did not work and when the AC
 was plugged into the wall it would spark and burn the connector cord that you had to use to plug
 into the wall, the burners to the stove were never fixed making the kitchen unusable, and the water
 in the shower went unfixed leaving me with no choice but to continue to take scalding hot and then
 freezing showers. EDS Management Corp. made mention of the pipes being bad in the building and
 refused to fix them.

 Angie Pauli brought this attention to EDS Management Corp, and stated all the above has not been
 fixed so she would not be required to pay. Angie Pauli went to EDS Management Corp. and asked
 for them to fix it or she would be forced to move out. EDS Management Corp refused to fix all the
 above for Angie Pauli and went against court orders. Angie Pauli provided a written letter to EDS
 Management Corp. of moving and provided enough time for EDS Management Corp. to fix the
 above mentions or find a new renter. EDS Management did not respond. EDS Management Corp
 first responded to Angie Pauli’s written letter on April 19, 2014 via a summons more than 3 years
 later (received May 2, 2014).

 Angie Pauli responded to EDS Management Corp. and Kavulich & Associates P.C. suit, by written
 letter via certified mail on May 13th 2014. This letter reads as;

 (Exhibit A)

 Dear Kavulich & Associates P.C.,

         I am writing in response to your letter dated April 19, 2014 (received May 2, 2014) because I
         do not believe in the validity of this debt.

         This is the first I’ve heard from you or any other company on this matter therefore, in
         accordance with the Fair Debt Collection Practices Act, Section 809(b): Validating Debts

             (b) if the consumer notifies the debt collector in writing within the thirty-day period
         described in subsection (a) that the debt, or any portion thereof, is disputed, or that the
         consumer requests the name and the address of the original creditor, the debt collector
         shall cease collection of the debt, or any disputed portion thereof, until the debt collector
         obtains verification of the debt or any copy of a judgement, or the name and address of the
         original creditor, and a copy of such verification or judgement, or name and address of the
         original creditor, is mailed to the consumer by the debt collector.

          I respectfully request that you provide me with the following information:

         (1) The amount of the original debt;
         (2) The name of the creditor to whom the debt is owed;
         (3) Provide a verification or copy of any judgement;
         (4) Proof that you are licensed to collect debts in Missouri.

     Be advised that I am fully aware of my rights under the fair debt collection Practices Act and the
     Fair Credit Reporting Act. For Instance, I know that:
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                Because I have disputed this debt in writing within 30 days of receipt of your dunning
                 notice, you must obtain verification of the debt or a
                Copy of the judgement against me and mail these items to me and your expense;
                You cannot add interest or fees except those allowed by the original contract or state
                 law. You do not have to respond to this dispute but if you do, any attempt to collect
                 this debt without validating it, violates FDCPA;

        Also be advised that I am keeping very accurate records of all correspondence from you and
        your company including recording all phone calls and I will not hesitate to report violations of
        the law to my State Attorney General, the Federal Trade Commission and the Better Business
        Bureau.

        I have disputed this debt, therefore, until validated; you know your information concerning this
        debt is inaccurate. Thus, if you have already reported this debt to any credit-reporting agency
        (CRA) or Credit Bureau (CB) then, you must immediately inform them of my dispute with this
        debt. Reporting information that you know to be inaccurate or failing to report information
        correctly violates the Fair Credit Reporting Act.

        1681s-2. Should you pursue a judgement without validating this debt, I will inform the judge and
        request the case be dismissed based on your failure to comply with the FDCPA.

        Finally, if you do not own this debt, I demand that you immediately send a copy of this dispute
        letter to the original creditor so they are also aware of my dispute with the debt

        Sincerely,



        Angie Pauli



EDS Management Corp. and Kavulich & Associates, P.C. did not respond to any of the above and failed
to comply with the FDCPA.

Six years later, (Exhibit B) A NOTICE OF DISCONTINUANCE was dated October 12, 2016, and was mailed
to Angie Pauli’s new address and was received on October 31st 2016.

Due to the failures of EDS Management Corp to fix or comply with the courts orders, as well as the
failure to respond to all of the above and also not comply with the FDCPA, Angie Pauli vehemently
denies she owes any money to EDS Management Corp.


2. Defendant Angie Pauli replies to the allegations: Denied

    Angie Pauli refutes and vehemently denies that she owes any money to EDS Management Corp.

3. Defendant Angie Pauli replies to the allegations: Denied
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    Angie Pauli refutes and vehemently denies that she owes any money to EDS Mangement Corp.

4. Defendant Angie Pauli replies to the allegations: Denied

    Angie Pauli refutes and vehemently denies that she owes any money to EDS Mangement Corp.




By: Angela Pauli, Robert A Pauli Jr.
